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10                                  UNITED STATES DISTRICT COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN JOSE DIVISION
13
14   UNITED STATES OF AMERICA                            )      CR 09-263 RMW
                                                         )
15           Plaintiff,                                  )      STIPULATION AND
                                                         )      (PROPOSED) ORDER
16      v.                                               )      EXCLUDING TIME UNDER
                                                         )      THE SPEEDY TRIAL ACT
17   JOSEPH BUDDENBERG,                                  )
     MARYAM KHAJAVI,                                     )
18   NATHAN POPE, A/K/A NATHAN KNOERL,                   )
     ADRIANA STUMPO,                                     )
19                                                       )
             Defendants.                                 )
20                                                       )
21       The United States by and through its counsel, Assistant United States Attorneys Elise Becker
22   and Grant Fondo, defendant Joseph Buddenberg, by and through his attorney, Robert Bloom,
23   defendant Maryam Khajavi, by and through her attorney J. Tony Serra, defendant Nathan Pope,
24   by and through his attorney James Thompson, and defendant Adriana Stumpo, by and through
25   her attorney Thomas Nolan, stipulated in open court on June 7, 2010, that the next hearing date
26   in the case should be July 19, 2010. The Court found that the time period between June 7, 2010,
27   and July 19, 2010, should be excluded from the calculation of time in which the above captioned
28   case must be tried under the Speedy Trial Act, 18 U.S.C. § 3161 based on the Court’s earlier

     SPEEDY TRIAL ACT ORDER
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1    order on July 16, 2009, that the case taken as a whole is complex under 18 U.S.C. §
2    3161(h)(7)(B)(ii).
3       Therefore, IT IS HEREBY ORDERED that the time between June 7, 2010, and July 19,
4    2010, shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. §
5    3161(h)(7)(A) and (B)(ii). Accordingly, the case is continued to July 19, 2010.
6
7    Dated: June 16, 2010                         Respectfully submitted,
8                                                 JOSEPH P. RUSSONIELLO
                                                  UNITED STATES ATTORNEY
9
                                                                 /s/
10
                                                  Elise Becker
11                                                Assistant United States Attorney
12
13   SO ORDERED.
14
15   DATED:
                                                  RONALD M. WHYTE
16                                                UNITED STATES DISTRICT JUDGE
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     SPEEDY TRIAL ACT ORDER
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